                Case 18-13774-ref                 Doc 1     Filed 06/06/18 Entered 06/06/18 17:29:43                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Worley & Obetz, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  85 White Oak Road
                                  Manheim, PA 17545
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lancaster                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Worley & Obetz, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See addendum                                               Relationship
                                                  District                                 When                         Case number, if known




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         Worley & Obetz, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                Other     All movable assets must be inventoried and accounted for.
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No

                                                Yes.    Insurance agency      Information to be provided
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                                                                        50,001-100,000
                                                                                     5001-10,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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          Worley & Obetz, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 6, 2018
                                                  MM / DD / YYYY


                             X   /s/ Joel E. Hagaman                                                     Joel E. Hagaman
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   CFO and Treasurer




18. Signature of attorney    X   /s/ William Burnett                                                      Date June 6, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 William Burnett
                                 Printed name

                                 Flaster/Greenberg, P.C.
                                 Firm name

                                 1835 Market Street
                                 Suite 1050
                                 Philadelphia, PA 19103-2924
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     215-279-9393                  Email address      william.burnett@flastergreenberg.com

                                 75975 PA
                                 Bar number and State




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                                 Addendum to Voluntary Petition

The following related entities and affiliates are filing Voluntary Petitions under Chapter 7 of
Title 11 of the United States Code contemporaneously:

    1. Worley & Obetz, Inc. (EIN XX-XXXXXXX)
    2. Americomfort, Inc. (EIN XX-XXXXXXX)
    3. Ranck Plumbing Heating & Air Conditioning, Inc. (EIN XX-XXXXXXX)
    4. Amerigreen Energy, Inc. (EIN XX-XXXXXXX)
    5. Advance Air, Inc. (EIN XX-XXXXXXX)
    6. Amerigreen Energy Brokers, LLC (EIN XX-XXXXXXX)
    7. Amerigreen Electricity, LLC (EIN XX-XXXXXXX)
    8. Amerigreen Hedging Services, LLC (EIN XX-XXXXXXX)
    9. Amerigreen Lubricants, LLC (EIN XX-XXXXXXX)
    10. Amerigreen Natural Gas, LLC (EIN XX-XXXXXXX)
    11. Amerigreen Propane, LLC (EIN XX-XXXXXXX)

The information set forth on each Voluntary Petition is estimated in the aggregate of all eleven
(11) Debtors based on available information and belief with respect to all responses provided on
each Petition, including the number of creditors as well as the estimated assets and liabilities.
The actual value of the detailed assets and liabilities attributed to each individual Debtor will be
contained in the Schedules of Assets and Liabilities and Statement of Financial Affairs for each
Debtor, when filed.

The Omnibus Corporate Resolution for the Debtors and the Corporate Ownership Statements are
based on information and belief available at the time of filing the Debtors’ Petitions. For
example, the sole member of some of the Debtors may in fact be Robert Seth Obetz rather than
Amerigreen Energy, Inc. as the parent. Nevertheless, in accordance with the Omnibus Corporate
Resolution, requisite authority has been obtained to file each Voluntary Petition.

To the extent necessary, the Debtors reserve their rights to amend these documents as more
information becomes available.




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Worley & Obetz, Inc.                                                                           Case No.
                                                                                    Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Worley & Obetz, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 6, 2018                                                          /s/ William Burnett
 Date                                                                  William Burnett
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Worley & Obetz, Inc.
                                                                       Flaster/Greenberg, P.C.
                                                                       1835 Market Street
                                                                       Suite 1050
                                                                       Philadelphia, PA 19103-2924
                                                                       215-279-9393 Fax:215-279-9394
                                                                       william.burnett@flastergreenberg.com




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